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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF FLORIDA
                      TALLAHASSEE DIVISION


UNITED STATES OF AMERICA

v.                                           4:18CR76-RH

JOHN THOMAS BURNETTE.
_________________________________/

                MOTION FOR JUDGMENT OF ACQUITTAL

      Defendant, John Thomas Burnette (“Burnette”), pursuant to Federal Rule of

Criminal Procedure 29(a), moves to request that this Court enter a judgment of

acquittal for all of the offenses alleged against Burnette in the Second Superseding

Indictment before submission of this case to the jury. Specifically, Burnette moves

for a judgment of acquittal on the following grounds:

      (1) The evidence is insufficient to support a conviction against Burnette on all

         counts under Federal Rule of Criminal Procedure 29(a); and

      (2) Evidence offered by the government has constructively amended and is in

         material variance from the Second Superseding Indictment in violation of

         Burnette’s rights under the Fifth Amendment to the United States

         Constitution.

      In support of his motion, Burnette states the following:
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                                          LEGAL STANDARD

          Pursuant to Rule 29(a) of the Federal Rules of Criminal Procedure:

          After the government closes its evidence or after the close of all the
          evidence, the court on the defendant’s motion must enter a judgment of
          acquittal of any offense for which the evidence is insufficient to sustain a
          conviction. The court may on its own consider whether the evidence is
          insufficient to sustain a conviction. If the court denies a motion for a
          judgment of acquittal at the close of the government’s evidence, the
          defendant may offer evidence without having reserved the right to do so.

(emphasis added).
                                          LEGAL ARGUMENT

    I.       Insufficient Evidence on All Counts

             A. Count One

          The Court’s Draft August 5, 2021 Jury Instructions1 (the “Jury Instructions”)

provide in pertinent part:

          Mr. Burnette can be found guilty on count 1—the charge of conspiracy to
          engage in racketeering activity—only if all these facts have been proven
          beyond areasonable doubt:
           First:           Two or more people agreed to try to accomplish an unlawful
                            plan—that is, a plan to participate in the affairs of an
                            enterprise through a pattern of racketeering activity—as
                            charged in the indictment;
           Second:          Mr. Burnette knowingly and willfully joined in the plan;

           Third:           When Mr. Burnette joined in the plan, he specifically
                            intended either (a) to personally participate in committing at
                            least two acts of racketeering activity, or (b) to participate in
                            the enterprise’s affairs, knowing that one or more other

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  The Court’s Draft August 5, 2021 Jury Instructions are the most recent instructions in Burnette’s possession at the
time this motion was written.
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                    members ofthe conspiracy would commit at least two acts of
                    racketeering activity and intending to help them as part of a
                    pattern of racketeering activity;

       Fourth:      The unlawful plan involved or affected interstate
                    commerce;
                    and

       Fifth:       The conspiracy continued on or after May 9, 2014.

(emphasis added).

             1. There is insufficient evidence to support that any of the alleged
                co-conspirators actually agreed to engage in a racketeering
                conspiracy.

      A Racketeer Influenced and Corrupt Organizations (“RICO”) conspiracy

requires an agreement between or among the alleged co-conspirators to engage in a

pattern of racketeering. Yet, Paige Carter-Smith (“Carter-Smith”) and Scott Maddox

(“Maddox”)—the Government’s own cooperating witnesses who are seeking a

motion for substantial assistance from the Government—provided testimony

denying the existence of any agreement to conspire. Both Carter-Smith and Maddox

acknowledged that they did not plead guilty to RICO. Trial Tr. vol. 6, 1012:10-19,

July 20, 2021; Trial Tr. vol. 10, 2000:18-22, July 26, 2021. Carter-Smith specifically

testified that she was never knowingly part of a scheme to defraud, and Maddox

never admitted that he was knowingly part of a scheme to defraud but rather admitted

that he believed the checks related to Southern Pines Development were for



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legitimate lobbying purposes, as opposed to a scheme to defraud. Trial Tr. vol. 6,

1018:11-1019:18, July 20, 2021; Trial Tr. vol. 10, 1986:1-13, July 26, 2021.

      In addition to there being insufficient evidence that Carter-Smith and Maddox

specifically intended and agreed to enter a conspiracy with Burnette, there is also

insufficient evidence that Burnette knowingly and with specific intent agreed to a

conspiracy with Carter-Smith and Maddox based on his own testimony in Court.

For instance, Burnette was not present for a number of relevant meetings, he lacked

knowledge as to Carter-Smith and Maddox’s interactions with the undercover

agents, and he did not receive a burner phone from Carter-Smith when she bought

burner phones for herself, Maddox, and others. The evidence demonstrates that

there was no agreement or enterprise, and “[i]t is axiomatic that mere association,

without more, cannot give rise to a conspiracy conviction.” See United States v.

Young, 39 F.3d 1561, 1566 (11th Cir. 1994). Here, Burnette’s mere association with

Carter-Smith and Maddox is insufficient evidence of an enterprise and any

conspiracy.

      Without specific intent to agree to a pattern of racketeering, there can be no

conspiracy. The evidence directly refutes the existence of the alleged conspiracy.




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              2. There is also insufficient evidence of continuity to support a
                 racketeering conspiracy.

       A racketeering conspiracy requires an ongoing pattern of racketeering

activity:

       The continuity element is “crucial to a valid RICO claim to ensure that
       the crime alleged is the sort of offense that RICO is designed to
       address—one that is part of a pattern of ongoing, continuing criminality
       or that involves criminality that promises to continue into the
       future.” Jackson v. BellSouth Telecomms., 372 F.3d 1250, 1265.
       Continuity of the racketeering activity is both a closed-and open-ended
       concept, referring either to a closed period of repeated conduct, or to
       past conduct that by its nature projects into the future with a threat of
       repetition. Id. (citing H.J. Inc. v. Northwestern Bell Tel. Co., 492 U.S.
       229, 241-42 (1989)).

Sterling Nat'l Mortg. Co. v. Infinite Title Sols., LLC, No. 10-22147-CIV, 2011 WL

13220625, at *6 (S.D. Fla. Mar. 3, 2011), report and recommendation adopted sub

nom. Sterling Nat. Mortg. Co. v. Infinite Title Sols., LLC, No. 10-22147-CIV, 2011

WL 1222168 (S.D. Fla. Mar. 31, 2011). Notably, “[t]he continuity requirement

means that a RICO plaintiff cannot allege two isolated sporadic predicate acts.” Id.

The Government has done just that by alleging isolated and sporadic acts: payment

in the amount of $100,000 and in the amount of $40,000.              As a result, the

Government has failed to demonstrate continuity at trial.

            B. Count Two

       The Jury Instructions incorporate the Second Superseding Indictment by

reference and provide in pertinent part:

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        Count 2 charges actual or attempted interference with commerce by
        extortion. Mr. Burnette can be found guilty of actual interference only if
        all these facts have been proved beyond a reasonable doubt:

        First:       Mr. Burnette caused Southern Pines Development LLC to
                     pay money directly or indirectly to Mr. Maddox;

        Second:      Mr. Burnette did so knowingly by means of extortion,
                     as charged in the indictment; and

        Third:       The extortionate transaction delayed, interrupted, or
                     affected interstate commerce.

        (emphasis added).

      The Jury Instructions also define extortion as “a public officer’s receipt of

money or anything else of value in exchange for an official act.”

      Importantly, Maddox—the public official at issue here—testified that he was

never part of any plan to extort anybody. Trial Tr. vol. 10, 2014:7-14, July 26, 2021.

There is no evidence that any payments of any value were ever made to Maddox

under color of official right.

      The Second Superseding Indictment requires an agreement for this count in

that it alleges that Burnette “together with Maddox and Carter-Smith, did knowingly

obstruct, delay, and affect commerce and the movement of articles and commodities

in commerce, and did attempt to obstruct, delay, and affect commerce and the

movement of articles and commodities in commerce, by extortion, as those terms

are defined in Title 18, United States Code, Section 1951.” (emphasis added).



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      For Count Two, there is insufficient evidence that Burnette knowingly and

together with Carter-Smith and Maddox caused a payment to be made to Maddox.

As discussed above, the Government has not met its burden of demonstrating that

Burnette had an agreement with Carter-Smith and Maddox, let alone an agreement

to extort. In this case, without such an agreement and without extortion involving

Maddox, there is insufficient evidence to support a charge of extortion against

Burnette.

            C. Counts Three Through Six

      The Jury Instructions provide in pertinent part:

      Mr. Burnette can be found guilty on one of these counts only if all these
      facts have been proven beyond a reasonable doubt:

       First:        Mr. Burnette knowingly devised or participated in a scheme
                     to fraudulently deprive the public of the right to Mr.
                     Maddox’s honest services through bribery, as charged in the
                     indictment;

       Second:       Mr. Burnette did so with an intent to defraud the public of
                     the right to Mr. Maddox’s honest services; and

       Third:        Mr. Burnette mailed or caused to be mailed some
                     communication or item to carry out the scheme to
                     defraud.

       …

      To act with “intent to defraud” means to act knowingly and with the specific
      intent to use false or fraudulent pretenses to cause loss of honest services.
      Proving intent to deceive alone, without the intent to cause loss of honest
      services, is not sufficient to prove intent to defraud.


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      For Counts Three through Six, there is insufficient evidence that Burnette

engaged in a scheme to defraud, much less with the specific intent to defraud as

required for conviction. Carter-Smith and Maddox did not admit to being part of a

fraudulent scheme related to the checks in this count. Trial Tr. vol. 4, 928:20-22,

July 15, 2021; Trial Tr. vol. 10, 1986:1-1987:12, July 26, 2021. To the contrary,

Carter-Smith and Maddox believed that Governance was retained for legitimate

lobbying in Leon County, as opposed to the City, for Fallschase, and not to influence

Maddox. Trial Tr. vol. 6, 1105:8-10, July 20, 2021; Trial Tr. vol. 10, 1986:1-

1987:12, 1996:11-16, July 26, 2021.

      Maddox expressed shock and anger at any statements Burnette made to

suggest anything less than a legitimate transaction between Southern Pines

Development and Carter-Smith. Trial Tr. vol. 10, 1962:5-1964:2, July 26, 2021.

Carter-Smith testified that at the time of the alleged events, she continued to believe

that her interactions with her client Southern Pines Development were solely in

furtherance of her County lobbying efforts, as demonstrated by her actions at the

time. Trial Tr. vol. 4, 915:19-916:8, 934:11-935:9, July 15, 2021. Because Carter-

Smith, Maddox, and Burnette all testified that there was no fraudulent agreement,

there is also no evidence that Burnette had any intent to defraud the public of the

right to Maddox’s honest services. Specific to Counts Three and Four, there is no

evidence that Burnette even had knowledge of the checks.

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          D. Counts Seven and Eight

       The Jury Instructions provide in pertinent part:

       Mr. Burnette can be found guilty on one of these counts only if all of these
       facts have been proved beyond a reasonable doubt:
      First:        Mr. Burnette used a cell phone with the specific intent to
                    facilitate bribery, as charged in the count under consideration;

      Second:       Thereafter, Mr. Burnette knowingly performed or attempted to
                    perform an act to facilitate the bribery; and

      Third:        The cell phone was present in the Northern District of Florida
                    when it was used, or the phone was used to communicate with a
                    phone that was present in the Northern District of Florida at that
                    time, or an act thereafter performed to facilitate the bribery was
                    performed in the Northern District of Florida.

      The Jury Instructions also define a bribe as “a payment of anything of value,

including money, to a public officer in exchange for the officer’s performance of, or

agreement to perform, an official act.”

      For Counts Seven and Eight, there is insufficient evidence that Burnette,

Carter-Smith, or Maddox ever agreed to a bribe or any other unlawful activity, which

is fatal to these counts. Without a bribe, there can be no facilitation of a bribe. There

is simply no evidence that Burnette agreed to or facilitated a payment in exchange

for Maddox’s agreement to perform an official act.

      In summary, Maddox testified that he never had a conversation with Burnette

about anything involving Southern Pines where he said anything that he did was for

sale or about wanting to get paid through Governance. Trial Tr. vol. 10, 1962:12 -

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15, 1963:16-20, July 26, 2021. When Maddox listened to the recordings and calls

between Burnette and the undercover agents, including this October 24, 2016 call,

he was “shocked” and “upset” that Burnette was “selling falsehoods” and was “full

of shit.” Trial Tr. vol. 10 1962:5-15, 1962:18-1963:2, 1964:2-1965:1, July 26, 2021.

      For Count Seven, Burnette did not facilitate any unlawful activity during the

October 19, 2016 telephone call with Mike Sweets (“Sweets”). Sweets initiated the

call to Burnette, and Sweets alone referenced a payment. (Gov. Ex. 36). Burnette

merely answered the phone. Burnette did not make any statements in furtherance of

a crime. Moreover, based on the testimony of Carter-Smith, Maddox, and Burnette,

there was no crime to further.

      For Count Eight, Burnette must be acquitted for improper venue because there

is insufficient evidence that the phone call took place in the Northern District of

Florida as alleged. Federal Rule of Criminal Procedure 18 provides in pertinent part:

      Unless a statute or these rules permit otherwise, the government must
      prosecute an offense in a district where the offense was committed.

See also 18 U.S.C. § 3232. Burnette’s counsel learned for the first time from

Michael Miller’s (“Miller”) testimony that neither Miller nor Burnette were in the

state of Florida at the time of this October 24, 2016 telephone call. Trial Tr. vol. 7,

1249:25-1250:8, July 21, 2021; Trial Tr. vol. 8, 1549:20-22, July 22, 2021.




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          E. Count Nine

      The Jury Instructions provide in pertinent part:

      Mr. Burnette can be found guilty on this count only if all of these facts have
      been proved beyond a reasonable doubt:

       First:        Mr. Burnette made a statement listed in this
                     count;

       Second:       The statement was false;

       Third:        The falsity concerned a material matter;
       Fourth:       Mr. Burnette acted willfully, knowing that the
                     statement was false; and
       Fifth:        The false statement was made on a matter within the
                     jurisdiction of the executive branch of the United
                     States government.

      There is insufficient evidence that Burnette knowingly and willfully made

false statements as to material fact. The making of a false statement is not a crime

unless the falsity relates to a “material” fact. A “material fact” is an important fact

— not some unimportant or trivial detail— that has a natural tendency to influence

or is capable of influencing a decision of a department or agency in reaching a

required decision. Burnette actually provided the FBI with truthful and material

facts, including that Southern Pines Development retained Carter-Smith and the Las

Vegas trip.




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   II.      Constructive Amendment and Material Variance

         The Fifth Amendment guarantees a defendant the right to be tried for only

those offenses presented in an indictment returned by a grand jury. The Government

has made a constructive amendment to and material variances from the Second

Superseding Indictment in violation of Burnette’s Fifth Amendment rights.

         A. Constructive Amendment

         A constructive amendment “occurs when the essential elements of the offense

contained in the indictment are altered to broaden the possible bases for conviction

beyond what is contained in the indictment.” United States v. Madden, 733 F.3d

1314, 1318 (11th Cir. 2013).

         The Government changed the date of the conspiracy from December of 2013

in the Second Superseding Indictment to May/June of 2013—a date barred by the

statute of limitations—in opening statements. See United States v. Young, 39 F.3d

1561, 1567 (11th Cir. 1994) (providing that a variance between the dates alleged and

the dates proved at trial could potentially trigger reversal if the date proved does not

fall within the statute of limitations and before the date of the indictment). Burnette

was indicted on October 2, 2019, and trial did not begin until July 12, 2021. The

Government had ample opportunity over the course of two years to amend these

dates by a third superseding indictment. Yet, the Government elected to present its



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amendment for the first time in a PowerPoint presentation used during opening

statement at trial. Consequently, Burnette is entitled to acquittal on Count One.

      B. Material Variance

      “A ‘variance’ occurs when the evidence at trial establishes facts materially

different from those alleged in the indictment” and functions as a challenge to the

sufficiency of the evidence. See United States v. Lander, 668 F.3d 1289, 1295 (11th

Cir. 2012).

      The Government made at least three material variances from the Second

Superseding Indictment. First, the Government broadened the dates of the charges

from December of 2013 to May/June of 2013. Second, paragraph 25 and paragraph

32 of the Second Superseding Indictment connect Maddox’s abstention on a specific

vote to February 12, 2014, when Maddox actually recused himself on September 11,

2013, during introduction to the ordinance when there was no McKibbon Hotel

Group item up for a vote. Third, at trial, the Government first introduced evidence

that the alleged $100,000 payment was in exchange for Carter-Smith not working

for McKibbon Hotel Group, which was not included in the Second Superseding

Indictment.

      Most importantly, the evidence at trial refutes the Government’s conspiracy

theory. Alleged co-conspirators Carter-Smith and Maddox denied the very existence

of a conspiracy, of a fraudulent scheme, and of the requisite specific intent. This is

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analogous to Lander, where the Court reversed the denial of the defendant’s motion

for acquittal on a mail fraud count related to two separate fraudulent schemes on the

grounds that the Government’s evidence did not prove a scheme to defraud and that

the there was a material variance from the indictment. 68 F.3d 1289, 1295 (11th Cir.

2012).

      In Lander, the Government could not identify in the record where the evidence

at trial supported the alleged misrepresentation under the mail fraud count, and

witness testimony actually disproved such misrepresentation. See id. at 1296. The

Court found that because specific intent to defraud, which requires proof of a

material misrepresentation, is an essential element of mail fraud, there was a material

variance from the indictment, and the defendant was substantially prejudiced as a

result because a defendant is entitled to be informed of the charges against him and

to not be surprised at trial by evidence offered against him. See id. at 1295-96. Like

in Lander, witness testimony introduced in this trial also disproved the

Government’s allegations and materially varied from the Second Superseding

Indictment, and as a result of these departures from the Second Superseding

Indictment, Burnette has suffered substantial prejudice.

                                  CONCLUSION

      Based on the foregoing, Burnette respectfully requests under Rule 29(a) of the

Federal Rules of Criminal Procedure on the grounds that the Government’s evidence

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against Burnette is insufficient to support a conviction based upon proof beyond a

reasonable doubt for all counts, and the Government’s proof has constructively

amended and materially varied from the Second Superseding Indictment in violation

of the Fifth Amendment. As a result, Burnette is entitled to acquittal.

Dated: August 10, 2021                    Respectfully submitted,

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                        LOCAL RULE 7.1(F) CERTIFICATE

      I certify that this paper contains 3,122 words, per Microsoft Word’s word

count, which complies with the word limit requirements set forth in Local Rule

7.1(F).

                                             /s/ Gregory W. Kehoe
                                               Attorney


                         CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of this document has been served to counsel

for the United States of America via email to their addresses of record on this 10th

day of August, 2021.

                                             /s/ Gregory W. Kehoe
                                               Attorney




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